                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                           Chapter 11

AMYRIS, INC., et al.,                                            Case No. 23-11131 (TMH)

                                    Debtors.1                    (Jointly Administered)

                                                              Re Docket Nos.: 525
                                                       Hearing Date: December 4, 2023 at 11:00 a.m. (ET)

               NOTICE OF ZOOM STATUS CONFERENCE2 REGARDING
             DEBTORS’ MOTION TO APPROVE DISCLOSURE STATEMENT

         PLEASE TAKE NOTICE that on October 12, 2023, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) filed the Debtors' Motion for an Order (I)

Approving the Disclosure Statement; (II) Scheduling Confirmation Hearing; (III) Approving Form

and Manner of Notice of Confirmation Hearing; (IV) Establishing Procedures for Solicitation and

Tabulation of Votes to Accept or Reject Plan, Including (A) Approving Form and Content of

Solicitation Materials; (B) Establishing Record Date and Approving Procedures for Distribution

of Solicitation Materials; (C) Approving Forms of Ballots; (D) Establishing Voting Deadline for

Receipt of Ballots and (E) Approving Procedures for Vote Tabulations; (V) Approving Form and

Manner of Notice of Plan Releases; (VI) Establishing Deadline and Procedures for Filing

Objections to Confirmation of Plan; and (VII) Granting Related Relief [Docket No. 525] (the




1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
    100, Emeryville, CA 94608.
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    The hearing will be conducted entirely via Zoom videoconference. You may register to monitor or appear at
    the hearing by following this link:
    https://debuscourts.zoomgov.com/meeting/register/vJItfumrqDIqEjurhtgEtxo -3uBggxTb7vQ
“Disclosure Statement Motion”). A hearing on the Disclosure Statement Motion is currently

scheduled for December 7, 2023 at 10:00 a.m. (Eastern Time).

       PLEASE TAKE FURTHER NOTICE that a status conference on the Disclosure

Statement Motion will be held by Zoom on December 4, 2023 at 11:00 a.m. (Eastern Time). A

copy of the Disclosure State Motion may be obtained for a fee through the Court’s website at

www.deb.uscourts.gov, referencing Case No. 23-11131 (TMH), or a copy may be obtained for

free by accessing the Debtors’ restructuring website at https://cases.stretto.com/Amyris.

 Dated: December 1, 2023                         PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ James E. O’Neill
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                                                 Counsel to the Debtors and Debtors in Possession
